                    IS EG HALAL GLOBAL
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                            IS EG Halal Global: 125 River Road, Suite 301 - Edgewater NJ 07020
                            Email: global@iseghalal.com | Tel: +1 202 820 0800 www.iseghalal.com




                                              Export Documentation Checklist
      Note: All the following data must be completed in English and supplied before starting the audit

  Slaughterhouse Name:

  Est. Nº

  Address:

  Country:

  Contact Person:

  Email:


                                               Poultry Slaughterhouses
                                               Information of the Establishment

Number Of Hours/ Working days.                                         Hour/ day

Number of working days per week.                                       Days/week

How many Shifts/ Day                                                   Shift/ Day

                                                     Inspection Services

Number of official Veterinary officers

Number of Quality Inspectors

                                                         Production

Slaughter Rate (Daily)                                                Bird/Hour                    Bird/day

Number of cooling Chambers                                            Chambers

Capacity of the carcasses chilling Chambers                           Tons

Packaging Capacity / Day                                              Tons

Total production / month (frozen whole bird)                          Tons/Month                        N/A

Total production / month (frozen cuts)                                 Ton/Month                        N/A




                                                                                                              DEF. EXH

                                                                                                         Hana - 033
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                                                   Capacity of the Storage

Number of storage chamber for Chilled Products                          Chamber

Chilled products storage total capacity                                 Tons

Frozen Product storage                                                  Inside the facility          outside the facility

Number of storage chamber for Frozen Products                           Chambers

Frozen products storage total capacity                                   Tons                        Carton Box

Number of Static freezing tunnels                                        Tunnels

Freezing Tunnels                                                        Inside the facility          outside the facility

Total Capacity of static freezing tunnels                                Tons                        Carton Box

Number of fixed freezing tunnels                                         Tunnel

Total Capacity of Fixed freezing tunnels                                  Tons                       Carton Box

List of Countries you export to



Authorized Representative Signature
       Name                                                           Position

                                                                       Date
     Signature


      Stamp
